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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       :
                                                :
                                                :
                 v.                             :      Criminal No. 21-CR-609
                                                :
JEREMY BROWN                                    :
                                                :
                                                :
                         Defendant.             :


                                   NOTICE OF APPEARANCE

          The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Kathryn L.

Rakoczy is entering his appearance in the above-captioned matter as counsel for the United

States.


                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                DC Bar No. 481052


                                                ___________________________
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